     Case 09-40529               Doc 17    Filed 07/16/09 Entered 07/17/09 02:06:52               Desc Imaged
                                          Certificate of Service Page 1 of 3
B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                               District of Massachusetts
                                                   Case No. 09−40529
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Paula Recco
   4 Danforth Road
   Tyngsboro, MA 01879
Social Security / Individual Taxpayer ID No.:
   xxx−xx−4650
Employer Tax ID / Other nos.:



                                            DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 7/14/09                                              Henry J. Boroff
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
     Case 09-40529            Doc 17      Filed 07/16/09 Entered 07/17/09 02:06:52                  Desc Imaged
                                         Certificate of Service Page 2 of 3
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
           Case 09-40529            Doc 17      Filed 07/16/09 Entered 07/17/09 02:06:52                          Desc Imaged
                                               Certificate of Service Page 3 of 3
                                CERTIFICATE OF NOTICE
 District/off: 0101-4                  User: pf                           Page 1 of 1                          Date Rcvd: Jul 14, 2009
 Case: 09-40529                        Form ID: b18                       Total Noticed: 16

 The following entities were noticed by first class mail on Jul 16, 2009.
 db           +Paula Recco,   4 Danforth Road,   Tyngsboro, MA 01879-1006
 aty          +William T. Boyle,   Law Office of William Boyle,    491 Main Street - Ste G,
                Groton, MA 01450-4255
 smg          +Commonwealth of Massachusetts,   DIV OF UNEMPLOYMENT ASSISTANCE,    ATTN BANKRUPTCY UNIT 5TH FLOOR,
                19 STANIFORD STREET,   Boston, MA 02114-2502
 smg           MASS DEPT OF REVENUE,   BANKRUPTCY UNIT,    PO BOX 9564,   Boston, MA 02114-9564
 smg          +UNITED STATES ATTORNEY,   ONE COURTHOUSE WAY,    SUITE 9200,   BOSTON, MA 02210-3013
 smg           US DEPARTMENT OF LABOR,   EMPLOYEE BENEFITS,    JFK FEDERAL BUILDING,   ROOM 575,
                Boston, MA 02203
 16852044      MSPCA,   1300 E Elm Street Extension,    Brockton, MA 02301
 16852045     +Peter Degelleke,   30 Monument Square, Ste 145,    Concord, MA 01742-1857
 The following entities were noticed by electronic transmission on Jul 14, 2009.
 tr           +EDI: QJGMARSH.COM Jul 14 2009 20:53:00      Janice G. Marsh,    The Marsh Law Firm, PC,
                446 Main Street,   19th Floor,    Worcester, MA 01608-2368
 ust          +E-mail/Text: USTPRegion01.WO.ECF@usdoj.gov                            Richard King,
                Office of US. Trustee,    446 Main Street,   14th Floor,    Worcester, MA 01608-2361
 16852039     +EDI: BANKAMER.COM Jul 14 2009 20:53:00      Bank of America,    PO Box 15019,
                Wilmington, DE 19886-5019
 16852040     +EDI: CAPITALONE.COM Jul 14 2009 20:53:00      Capital One,    P.O. Box 30285,
                Salt Lake City, UT 84130-0285
 16852042     +EDI: CHASE.COM Jul 14 2009 20:58:00      Chase,   P.O. Box 15298,    Wilmington, DE 19850-5298
 16852043     +EDI: HFC.COM Jul 14 2009 20:53:00      House Hold Bank,    PO Box 60102,
                City of Industry, CA 91716-0102
 16852046     +EDI: CHASE.COM Jul 14 2009 20:58:00      Providian,   P.O. Box 660509,    Dallas, TX 75266-0509
 16852047     +EDI: USAA.COM Jul 14 2009 20:53:00      USAA,   10750 McDermott Freeway,
                San Antonio, TX 78288-1600
                                                                                               TOTAL: 8
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 aty*            +Janice G. Marsh,   The Marsh Law Firm, PC,   446 Main Street,                    19th Floor,
                   Worcester, MA 01608-2368
 16852041*       +Capital One,   p.o box 30285,   Salt Lake City, UT 84130-0285
                                                                                                                     TOTALS: 0, * 2
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 16, 2009                                       Signature:
